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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF OKLAHOMA

THOMAS A. SHURLEY,                                )
                                                  )
         Plaintiff,                               )
                                                  )
vs.                                               )       Case No. 14-cv-00172-KEW
                                                  )
ROLLING HILLS HOSPITAL, LLC,                      )       Magistrate Judge West
                                                  )
         Defendant.                               )       Jury Demand


                         DEFENDANT’S WITNESS AND EXHIBIT LIST

         Defendant Rolling Hills Hospital, LLC (“Rolling Hills”) makes these pretrial disclosures

pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, the Local Rules of Court, and

the Scheduling Order entered in this case [Docket No. 18]. As discovery is ongoing and

depositions remain to be taken, Rolling Hills reserves the right to supplement this witness and

exhibit list as necessary through 30 days before trial consistent with Federal Rule of Civil

Procedure 26(a)(3)(B).

         A.        Witness List

         In addition to Plaintiff and other individuals identified by Plaintiff in his pretrial disclosures,

Rolling Hills identifies the following individuals of whom it is currently aware who are likely to be

called as witnesses. Except where otherwise noted, the following may be contacted through

undersigned counsel.       Rolling Hills reserves the right to supplement this list as discovery

progresses.

         1.        Selena Stockley (Rolling Hills Chief Executive Officer) c/o Rolling Hills’

Attorneys.         Ms. Stockley will likely testify regarding her communications with Plaintiff,

Plaintiff’s job duties, Plaintiff’s performance, and Plaintiff’s discharge. She will also likely




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testify regarding Rolling Hills’ compliance obligations, policies, procedures, and information

related to preparing the facility for Joint Commission surveys.

         2.         Duane Harris (Rolling Hills Human Resources Director) c/o Rolling Hills’

Attorneys.         Mr. Harris will likely testify regarding Rolling Hills’ compliance obligations,

policies, and procedures - including but not limited to its equal employment opportunity, anti-

discrimination, anti-harassment, anti-retaliation, and employee leave policies.

         3.         Roger Dam (Consultant, President RLM Services). Phone: (404) 509-5611. Mr.

Dam will likely testify regarding his visit to Rolling Hills in 2012 for a site inspection in

preparation for Rolling Hills’ upcoming Joint Commission survey, and his findings regarding the

same.

         4.         Christi Stick (Rolling Hills Infection Control Officer) c/o Rolling Hills’

Attorneys. Ms. Stick will likely testify regarding her communications with Plaintiff, as well as

Rolling Hills’ policies, procedures, and compliance obligations - including but not limited to

compliance obligations regarding infection control permits.

         5.         Witnesses identified through the course of discovery.

         6.         Other individuals as may be necessary for rebuttal or impeachment.

         B.         Exhibit List

                    Response:      In addition to any documents identified by Plaintiff in his pretrial

disclosures, Rolling Hills identifies the following documents it may use as exhibits at trial. Rolling

Hills reserves the right to supplement this list as discovery progresses.

         1.         Plaintiff’s personnel file and other documents relating to his employment -

including documents related to his performance and discharge.




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         2.        Documents related to and generated as the result of the 2009 and 2012 Joint

Commission surveys, including documents related to inspections and walk-throughs conducted

in preparation for the same.

         3.        Documents produced by the EEOC in response to a Freedom of Information Act

request concerning Plaintiff’s charge of discrimination.

         4.        Documents evidencing Rolling Hills’ good faith efforts to comply with anti-

discrimination and anti-retaliation laws, including relevant portions of Rolling Hills’ Employee

Handbook, relevant employment policies, and employee acknowledgment of receipt of such

policies.

         5.        Documents evidencing Plaintiff’s efforts to obtain employment following his

employment at Rolling Hills and any compensation or other remuneration from such

employment or other sources

         6.        Documents evidencing Plaintiff’s medical condition at any time relevant to his

claim, including following his employment at Rolling Hills.

         7.        Documents identified through the course of discovery.

         8.        Documents identified by Plaintiff to which Defendant has no objection.


                                                s/Brian A. Pierce
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                                                Attorneys for Defendant




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on February 18, 2015, I served the foregoing document through the
Court’s Electronic Filing System upon the following:

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